                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

 MAXUS METROPOLITAN, LLC,                       )
                                                )
        Plaintiff,                              )
                                                )
 v.                                             )   Case No: 20-cv-00095-FJG
                                                )
 TRAVELERS PROPERTY CASUALTY                    )
 COMPANY OF AMERICA,                            )
                                                )
                                                )
        Defendant.                              )

               NOTICE OF FILING SUPPLEMENTAL EXPERT REPORTS

       Defendant Travelers Property Casualty Company of America (“Travelers”) hereby gives

notice of the electronic filing of supplemental expert reports of Dr. Stuart Batterman, M.S., Ph.D.

and Mr. Kurt D. Mulder, P.E., which are attached hereto. Travelers filing of these reports does not

impact its Consent Motion to Extend Defendant’s Experts’ Supplemental Report Deadline (Doc.

55), which remains pending.

                                             Respectfully submitted,

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          Case 4:20-cv-00095-FJG Document 56 Filed 03/05/21 Page 1 of 2
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                                   CERTIFICATE OF SERVICE

          I do hereby certify that on March 5, 2021, I electronically submitted the foregoing with the

Clerk of the Court for the United States District Court for the Western District of Missouri using

the CM/ECF system, which will send a Notice of Electronic Filing to the following counsel of

record:



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            Case 4:20-cv-00095-FJG Document 56 Filed 03/05/21 Page 2 of 2
